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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                 No. 1:21-cr-158 (RC)

KYLE FITZSIMONS


                  NOTICE OF APPEARANCE AS LEAD COUNSEL

       Douglas B. Brasher, Assistant United States Attorney, enters his appearance as

lead counsel for the United States of America in this case. The United States requests

that all notices relating to this case be sent to the undersigned.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                               /s/ Douglas B. Brasher
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